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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                          CASE NO. 21-14434-CIV-CANNON/Maynard

  JOAN TAPIA,

          Plaintiff,
  v.

  COASTAL DETOX, INC.,

          Defendant.
                                /

                              ORDER SCHEDULING MEDIATION

          THIS MATTER comes before the Court upon the parties’ Joint Notice Scheduling

  Mediation [ECF No. 20], filed on January 18, 2022. The Mediation in this case shall be held

  before Neil Flaxman, on August 16, 2022, at 10:00 a.m., to be conducted at 515 East Las Olas

  Blvd, Suite 120, Fort Lauderdale, Florida 33301. The parties are reminded that a report of their

  mediation must be filed within five (5) days thereafter. The parties also are reminded that no

  changes to any aspect of this Order may be made absent a properly filed motion for such relief and

  Court approval.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 19th day of January

  2022.


                                                         _________________________________
                                                         AILEEN M. CANNON
                                                         UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
